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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

UNITED STATES OF AMERICA

Criminal Action No.
v.

1:23-cr-00047-MHC-JEM
KRISTOPHER KNEUBUHLER

FINAL ORDER AND JUDGMENT OF FORFEITURE

This matter is before the Court on the Government's Motion for Final Order of
Forfeiture for property seized from Defendant Kristopher Kneubuhler. The Court
entered the Consent Preliminary Order of Forfeiture on October 26, 2023, forfeiting
the Defendant's interest in the following property to the United States pursuant to
18 U.S.C. § 2253:

a. One Silver iPhone 13 Pro Max, Model MLKV3LL/A, with serial

number O53WWVJ7NI1;

b. One Kingston Red/White Flash Drive GL2021;
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c. One Republic of Gamers Laptop, Model GU603Z, serial
number N4NRKD02156616E;

d. One iPad Pro 5 Gen, model MHNH3LL / A, with serial
number HYGH3WHXY9;

e. One Desktop Tower with 3 internal HD’s, serial
number MCBQ300LKANNS001193001591;

f. One Cooler Master Black Desktop Tower, serial
number RC430KWN11104700704; and

g. One cracked Pink iPhone.

(Doc. 53).

In accordance with the notice requirements set forth in 21 U.S.C. § 853(n)(1),
as incorporated by 18 U.S.C. § 2253, the United States published notice of the
preliminary order of forfeiture, and of its intent to dispose of the property, on the
official government internet site forfeiture.gov for at least 30 consecutive days.
However, no one has filed a petition to the property, and the deadline for doing
so has expired.

This Court, having found that the Defendant's interest was forfeited to the

United States in the Consent Preliminary Order of Forfeiture, that the United
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States published notice of the preliminary order of forfeiture, and of its intent to

dispose of the property, in accordance with 21 U.S.C. § 853(n) and 18 U.S.C. §

2253, that no third party has filed a petition claiming an interest in the property

and that the time for filing such petition has expired, it is hereby ORDERED,

ADJUDGED AND DECREED that:

1. A final forfeiture judgment against the following property is hereby

entered pursuant to 18 U.S.C. § 2253:

a.

One Silver iPhone 13 Pro Max, Model MLKV3LL/ A, with serial
number O53WWVJ7N1;

One Kingston Red/White Flash Drive GL2021;

One Republic of Gamers Laptop, Model GU603Z, serial number
N4NRKD02156616E;

One iPad Pro 5th Gen, model MHNH3LL/A, with serial number
HYGH3WHXyY9;

One Desktop Tower with 3 internal HD’s, serial number
MCBQ300LKANNS001193001591;

One Cooler Master Black Desktop Tower, serial number

RC430KWN11104700704; and
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g. One cracked Pink iPhone.

2. All right, title and interest in the above property is hereby condemned,
forfeited, and vested in the United States and shall be disposed of
according to law.

3. The United States District Court shall retain jurisdiction in this case for the

purpose of enforcing this Order.

SO ORDERED THIS 26" _ um day of k brvany , 2024.

Waki lai.

MARK H. COHEN
UNITED STATES DISTRICT JUDGE

Prepared by:
Norman L. Barnett, Assistant United States Attorney
(404) 581-6000
